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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

LIANNA PATTERSON, and JAMES                     )
PATTERSON,                                      )
                                                )
       Plaintiffs,                              )
                                                )
V.                                              )       CIVIL ACTION NO. SA-17-CA-814-FB
                                                )
LIBERTY MUTUAL INSURANCE                        )
CORPORATION, and JEFFREY                        )
ALLEN,                                          )
                                                )
       Defendants.                              )

                                             JUDGMENT

       The Court considered the Judgment to be entered in this case. Pursuant to the Order of

Dismissal With Prejudice signed this date,

       IT IS ORDERED, ADJUDGED and DECREED that the above-entitled cause is DISMISSED

WITH PREJUDICE, with each party to bear its own costs.

       IT IS FURTHER ORDERED, ADJUDGED and DECREED that motions pending with the

Court, if any, are Dismissed as Moot and this case is CLOSED.

       It is so ORDERED.

       SIGNED this 17th day of October, 2018.


                                      _________________________________________________
                                     FRED BIERY
                                     UNITED STATES DISTRICT JUDGE
